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 2   State Bar No. 11479
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 7
                                 UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9
10   UNITED STATES OF AMERICA,                             Case No. 2:14-cr-328-KJD-NJK
                                                           ORDER GRANTING
11                  Plaintiff,                             MOTION TO SET DEADLINE FOR
                                                           BILL OF PARTICULARS
12           v.
13   JENNIFER PESKETT,
14                  Defendant.
15
16   Certification: This Motion is timely filed.
17           Comes now the defendant, Jennifer Peskett, by and through her counsel of record,
18   MONIQUE KIRTLEY, Assistant Federal Public Defender, and hereby moves this court for an
19   order setting a maximum two-week deadline for the government to produce a bill of particulars.
20           On May 12, 2015, the magistrate court ordered the government to produce a bill of
21   particulars. (CR # 77.) The magistrate’s order directed the government to produce the bill of
22   particulars by May 26, 2015, two weeks after the magistrate signed the order. (Id.) The
23   government requested the district court review the order, so it did not provide a bill of
24   particulars.
25   ///
26   ///
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 1           On September 2, 2015, this Court affirmed the magistrate court’s order. (CR # 92.)
 2   This Court’s order affirming the magistrate’s order did not set a deadline. (Id.) Almost four
 3   weeks have passed since this Court issued its order, and to date, the government has not
 4   provided a bill of particulars. Therefore, Ms. Peskett respectfully requests this Court issue order
 5   setting a maximum two-week deadline by which the government must provide a bill of
 6   particulars.
 7           DATED this 29th day of September, 2015.
 8                                                    RENE L. VALLADARES
                                                      Federal Public Defender
 9
10                                              By: /s/Monique Kirtley
                                                    MONIQUE KIRTLEY
11                                                  Assistant Federal Public Defender
                                                    Attorney for Jennifer Peskett
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         The bill of particulars shall be
15       provided no later than October 13,
         2015. IT IS SO ORDERED.
16       Dated: September 30, 2015
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18        ___________________________
19        United States Magistrate Judge

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